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10
     Attorneys for Plaintiff,
11   DEE ANNE EVANS
12
13                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
14
15
     DEE ANNE EVANS, an individual,          Case No.
16
              Plaintiff,
17
         v.
18                                           COMPLAINT FOR VIOLATIONS
     DS PROPERTIES 17 LP, a Delaware         OF: AMERICANS WITH
19
     limited partnership; and DOES 1-10,     DISABILITIES ACT OF 1990, 42
20                                           U.S.C. § 12181, et seq.; UNRUH
              Defendants.                    CIVIL RIGHTS ACT, CALIFORNIA
21
                                             CIVIL CODE § 51, et seq.
22
23                                           DEMAND FOR BENCH TRIAL
24
25
26
27
28        Landlords demonize access cases and often deviously foist the overdue


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 1      remediation costs onto business owners who lease their land, all the while
 2              protesting in litigation, tying up the Court. The secret is out.
 3
 4          Plaintiff Dee Anne Evans (hereinafter referred to as “Plaintiff”) complains of

 5   Defendants DS Properties 17 LP, a Delaware limited partnership; and Does 1-10
 6
     (each, individually a “Defendant,” and collectively “Defendants”), and alleges as
 7
 8   follows:

 9     I.       INTRODUCTION: THE CROSSROADS OF CIVIL RIGHTS AND
10
                           PRIVATE INFRASTRUCTURE REFORM
11
12          The landlord community has demonized ADA lawsuits in order to avoid
13   compliance with Federal law. Landlords often use heavy handed leases which
14
     unfairly and secretly foist the responsibility of access law compliance of their
15
16   property onto the shoulders of the unfortunate business owner/lessor who does not
17   see the landmine in the lease. Inevitable lawsuits by customers against landlords
18
     who own the non-compliant property asking for legally required features in the
19
20   property are then mischaracterized as attacks on the unfortunate business
21   owner/lessor by dastardly customers. This cynical and unfair tactic has caused
22
     administrative headaches for the courts which must deal with emotional and
23
24   unnecessary litigation and has obscured the truth. In reality, the landlords’ goal is to
25   to save money by failing to bring the property into compliance and then when
26
     caught, blame the disabled customer and force the remediation costs upon the
27
28
                                          2
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 1   business owner. The landlord is the predator. Here are the facts:
 2
            Mass Non-Compliance with the ADA. Many places are dilapidated and need
 3
 4   remediation. Non-compliance is rampant. Many if not most places are not fully

 5   compliant with access laws. Many properties have terribly dilapidated pavement,
 6
     vandalized or missing access signage, incorrectly designed paths and have
 7
 8   restrooms which are unusable for disabled people. These problems are common and
 9   egregious in many places.
10
            No Government Oversight. The government will not provide inspections or
11
12   monitoring of the vast swaths of privately owned land and buildings used by
13   people. Incorrectly designed features will stay non-compliant. Many features will
14
     also erode with time from long term heavy usage, weather/climate ware, vandalism,
15
16   etc.
17          Private Infrastructure Reform. The remediation and improvement to these
18
     properties is good for business. Improvements which better the land and bring the
19
20   property into compliance with Federal law increase the property value and make the
21   areas more appealing for customers.
22
            Remediation Costs are Tiny Compared to the Wealth of the Landlord.
23
24          The costs of remediation in many instances are a tiny fraction of the income
25
     of most landlords, who typically own multiple commercial properties and are in the
26
     landlord business. The landlord that owns one property is indeed a rare creature in
27
28
                                         3
                                     COMPLAINT
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 1   California. The value of the building, improvements and land for most properties,
 2
     coupled with other properties owned, dwarfs the negligible expenses of
 3
 4   remediation, which incidentally should have been made already without the need

 5   for a lawsuit. The lawsuit is an unfortunate byproduct of the landlord’s original
 6
     refusal to follow the law. The landlord saved and avoided those costs until the case.
 7
 8         Need for these cases. Despite the history of access cases there is still mass
 9   non-compliance. The deterrent effect has not been enough to bring about
10
     remediation such that these cases discontinue and are growing. Until the legislative
11
12   intent arises to change the law so that government inspectors appear on the streets
13   monitoring and enforcing access laws, these cases will be essential and important to
14
     giving access to all and to improving the landscape for all customers.
15
16                                      II.    PARTIES
17         1.     Plaintiff Dee Anne Evans is a California resident with physical
18
     disabilities. She is visually impaired. She suffers from Nystagmus which
19
20   interferes with her vision. She is also partially blind in her right eye. This makes it
21   hard for her to get around and use machines also. Plaintiff is a disabled person
22
     under the California Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51,
23
24   et seq., 52, et seq.), the Americans with Disabilities Act (ADA) (see 42 U.S.C. §
25
     12102, et seq.), and other statutory laws which protect the rights of “disabled
26
     persons.”
27
28
                                          4
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 1         2.      Defendant DS Properties 17 LP, a Delaware limited partnership,
 2
     owned the property (the “Property”), i.e., located at 1318 Tenth St., Berkeley, CA
 3
 4   94710.

 5         3.      There is a business establishment on the Property named “Office
 6
     Depot,” located at 1318 Tenth St., Berkeley, CA 94710 (hereinafter, “the
 7
 8   business”).
 9         4.      The businesses are public accommodations as defined by 42 U.S.C. §
10
     12181(7).
11
12         5.      DOES 1 through 10 were at all relevant times lessors, lessees, property
13   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
14
     corporate officers, managers, principles, and/or representatives of Defendants.
15
16   Plaintiff is unaware of the true names and capacities of Defendants sued herein as
17   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
18
     names. Plaintiff requests that the Court grant leave to amend this complaint to
19
20   allege the true names and capacities when determined by whatever source.
21
           6.      Defendants, at all relevant times, were relevant to this action; were the
22
     owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
23
24   agents, affiliates, employees, employers, representative partners, subsidiaries,
25
     partner companies, and/or joint venturers of the remaining Defendants; and were
26
     acting within the course and scope of that relationship. Upon information and
27
28
                                          5
                                      COMPLAINT
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 1   belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
 2
     authorized the acts alleged of each of the remaining Defendants.
 3
 4          7.     Plaintiff visited the public accommodations owned, leased, and/or

 5   operated by Defendants with the intent to purchase and/or use the goods, services,
 6
     facilities, privileges, advantages, and/or accommodations offered by Defendants.
 7
 8                             III.   JURISDICTION & VENUE
 9          8.     This Court has subject matter jurisdiction over this action pursuant to
10
     28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
11
            9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
12
13   action, arising from the same nucleus of operative facts, and arising out of the same
14
     transactions, is also brought under the UCRA, which expressly incorporates the
15
     ADA.
16
17          10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
18
     the real property which is the subject of this action is located in this district, and
19
     Plaintiff’s cause of action arose in this district.
20
21                                         IV.    FACTS
22
            11.    The Property is a facility which is open to the public and includes
23
     business establishments.
24
25          12.    The Property has been newly constructed and/or underwent
26
     remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
27
28
     to comply with California access standards which applied at the time of each new
                                            6
                                        COMPLAINT
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 1   construction and/or alteration, and/or failed to maintain accessible features in
 2
     operable working condition.
 3
 4         13.    Plaintiff visited the Property during the relevant statutory period on

 5   three (3) separate occasions, January 2021, April 2021 and February 2022 to
 6
     patronize the business on the Property.
 7
 8         14.    Defendants did not offer persons with disabilities with equivalent
 9   facilities, privileges, and advantages offered by Defendants to other patrons.
10
           15.    Plaintiff encountered barriers, both physical and intangible, that
11
12   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
13   privileges, and/or accommodations offered at the Property.
14
           16.    Parking is one of the facilities, privileges, and advantages offered by
15
16   Defendants to patrons of the Property.
17         17.    However, there was no accessible parking for disabled patrons at the
18
     Property. The parking space(s) designated for disabled persons did not comply
19
20   with the ADA.
21
           18.    The parking area did not comply with the applicable California
22
     Building Code (CBC).
23
24         19.    When Plaintiff visited the Property, she experienced access barriers
25
     related to parking, signage, entryways, and paths of travel.
26
           20.    Plaintiff encountered the following barriers, conditions, and/or
27
28
                                          7
                                      COMPLAINT
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 1   violations at the Property:
 2
 3
 4         The property which serves Office Depot has many violations of the

 5         ADAAG which are barriers to somebody like Plaintiff. The property is
 6
           missing marked paths of travel from the access aisle. There is no
 7
 8         designated parking space and access aisle closer to Office Depot. There
 9         are problems inside of Office Depot as well. The aisles within the
10
           business are extremely narrow, and some that have barriers. There are
11
12         many other problems as well.
13
14
           VIOLATION of 2010 CBC § 1129B.1; 1991 ADAS § 4.1.2(5). (Accessible
15
16         spaces required.) Where parking is provided, a minimum number of ADA-
17         compliant designated accessible spaces are required in accord with the
18
           number of total spaces. They are not provided. The space(s) reserved for
19
20         disabled patrons is riddled with ADA violations; therefore, the reserved
21         space(s) are not accessible.
22
           VIOLATION of 1991 ADAS § 4.6.2; 2010 ADAS § 208.3.1; 2010 CBC §
23
24         1129B.1. (Minimize travel distance.) The parking space reserved for disabled
25
           persons is not located to minimize the travel distance to the entrance. The
26
           parking spaces closest to the entrance of the business are not designated
27
28
                                         8
                                     COMPLAINT
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 1     accessible spaces. The space reserved for disabled persons are located
 2
       farther.
 3
 4
 5     VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
 6
       11B-502.2. (Width of designated disabled parking space.) The designated
 7
 8     disabled parking space measured/measures less than nine feet (9') wide,
 9     which made (would make) it difficult for Plaintiff to use the designated
10
       space, and which denied (would deny) plaintiff full and equal use and access
11
12     of the full width of the required space. The paint used for the accessible
13     parking space lines are so faded and worn that it is difficult to identify the
14
       actual dimensions of the space. Plaintiff cannot safely disembark from the
15
16     vehicle when adequate space is not provided. Plaintiff needs to be able to
17     use the designated disabled parking space, which should be located closest to
18
       the entrance and linked to an accessible route of travel, because it is more
19
20     difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
21     the Property.
22
23     VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
24
       11B-502.2. (Length of designated disabled parking space.) The designated
25
26     disabled parking space measures/measured less than eighteen feet (18') long,

27     which made (would make) it difficult for Plaintiff to use the designated
28
                                      9
                                  COMPLAINT
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 1      space, and which denied (would deny) plaintiff full and equal use and access
 2
        of the full length of the required space. The paint used for the accessible
 3
 4      parking space lines are so faded and worn that it is difficult to identify the

 5      actual dimensions of the space. Plaintiff cannot safely park and disembark
 6
        from the vehicle when adequate space is not provided. Plaintiff needs to be
 7
 8      able to use the designated disabled parking space, which should be located
 9      closest to the entrance and linked to an accessible route of travel, because it
10
        is more difficult for Plaintiff, as opposed to non-disabled persons, to
11
12      maneuver about the Property.
13
14
15      VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §
16
        1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The
17
18      access aisle adjacent to the designated disabled parking space is/was less than

19      eighteen feet (18') long (which is also the required length of the designated
20
        disabled parking space), which denied (would deny) plaintiff full and equal
21
22      use and access of the full length of the required access aisle. Plaintiff needs

23      extra space to be able to safely exit the vehicle. When the access aisle is too
24
        small, Plaintiff has difficulty disembarking from the vehicle, which poses a
25
26      greater risk of injury to Plaintiff and can also cause humiliation and/or

27      frustration.
28
                                      10
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 1
 2
        VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
 3
 4      CBC § 11B-502.3.3. (“NO PARKING” – ground surface signage.) The

 5      words “NO PARKING,” which are required to be painted in the loading/
 6
        unloading access aisle, were/are missing (and/or were completely faded such
 7
 8      that the words were no longer visible). As a result, non-disabled patrons
 9      parked in the loading/unloading access aisle, blocking Plaintiff from being
10
        able to use the access aisle. Plaintiff needs extra space to be able to safely
11
12      exit the vehicle. Plaintiff has difficulty disembarking the vehicle, which
13      poses a greater risk of injury to Plaintiff and can cause humiliation and/or
14
        frustration. Plaintiff cannot access the Property safely if Plaintiff cannot use
15
16      an accessible parking space and adjacent access aisle.
17
18
        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
19
20      1129B.3; 2019 CBC § 11B-502.3. (Access aisle adjoining accessible route.)
21      The adjacent loading/unloading access aisles must adjoin an accessible route
22
        to an accessible entrance. It does/did not. Plaintiff cannot access the
23
24      Property safely unless there is an access aisle onto which Plaintiff can
25
        disembark from the vehicle. The access aisle must lead to an accessible route,
26
        so that Plaintiff can safely travel to and enter the business. There is no safe
27
28
                                     11
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 1      route of travel from the designated disabled parking space to the business
 2
        entrance. The barrier deterred/deters Plaintiff from visiting the property
 3
 4      because the lack of a safe and accessible route would make it difficult,

 5      uncomfortable, and/or unsafe for Plaintiff to walk around the property,
 6
        including to travel from the designated disabled parking space to the building
 7
 8      entrance.
 9
10
        VIOLATION of 2010 CBC § 1118B.1; 2019 CBC § 11B-403.5.1; 1991
11
12      ADAS § 4.2.1; 2010 ADAS § 403.5.1. (Lack of clear floor space.) The
13      width of the aisles inside the business is too narrow and is obstructed at
14
        multiple locations. The clear width for aisles shall be thirty-six (36") inches
15
16      minimum if serving elements on only one side, and forty-four (44") inches
17      minimum if serving elements on both sides. Here, in aisles with elements on
18
        both sides, the width measures less than forty-four (44") inches. Plaintiff has
19
20      difficulty ambulating when the aisles are not wide enough.
21
22
        VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
23
24      The sanitary facilities are missing door signage indicating an accessible
25
        facility.
26
27
28
                                     12
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 1      VIOLATION of 1991 ADAS § 4.13.11; 2010 ADAS § 404.2.9; 2010 CBC
 2
        §1133B.2.5; 2019 CBC § 11B-404.2.9. (Effort to operate restroom door.)
 3
 4      The restroom’s door opening force exceeds the maximum allowable opening

 5      force of five pounds (5 lbs.). Plaintiff requires an accessible restroom that
 6
        does not require her to use excessive force to open.
 7
 8
 9      VIOLATION of 1991 ADAS § 4.16.6; 2010 ADAS § 604.7; 2010 CBC §
10
        1115B.8.4. (Toilet paper dispenser.) The restroom’s toilet tissue dispenser is
11
12      mounted more than twelve inches (12”) from the front edge of the toilet seat,
13      making (which would make) it difficult for Plaintiff to reach the tissue
14
        dispenser and use the toilet.
15
16
17      VIOLATION of 2010 CBC § 1115B.4.1. (Rear grab bar.) There must be at
18
        least one and one-half (1 ½) inches of space between the grab bar and the top
19
20      of the tank. This makes it difficult for Plaintiff to grab the rear grab bar.
21
22
        VIOLATION of 2010 CBC § 1115B.4.1.3.3. (Toilet - side grab bar.) The
23
24      toilet side grab bar, that is required to be at least forty-two (42) inches long,
25
        is not provided.
26
27
28
                                      13
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 1         VIOLATION of 2010 CBC § 1115B.8.1; 1991 ADAS § 4.19.6; 2010
 2
           ADAS § 603.3. (Mirror - Restroom.) The mirror in the restroom is mounted
 3
 4         too high. Mirrors must have a bottom edge of the reflecting surface located a

 5         maximum of forty inches (40") above the floor if above a sink or counter.
 6
           Here, the bottom edge of the reflecting surface measures forty-nine inches
 7
 8         (49"), making it difficult for Plaintiff to use the restroom.
 9
10
           21.    Plaintiff personally encountered the foregoing barriers, conditions,
11
12   and/or violations.
13         22.    These barriers, conditions, and/or violations denied Plaintiff full and
14
     equal access, and caused her difficulty, humiliation, and/or frustration.
15
16         23.    The barriers, conditions, and/or violations existed during each of
17   Plaintiff’s visits in 2021 and 2022.
18
           24.    Defendants knew that the foregoing architectural barriers prevented
19
20   access. Plaintiff will prove that Defendants had actual knowledge that the
21
     architectural barriers prevented access, and that the noncompliance with the ADA
22
     Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
23
24   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
25
     was intentional.
26
           25.    Plaintiff intends and plans to visit the Property again soon. Currently,
27
28
                                         14
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 1   Plaintiff is reasonably deterred from returning to Defendants’ public
 2
     accommodation facilities because of the knowledge of barriers to equal access,
 3
 4   relating to Plaintiff’s disabilities, that continue to exist at the Property.

 5          26.    Defendants have failed to maintain in working and useable condition
 6
     those features necessary to provide ready access to persons with disabilities.
 7
 8          27.    Defendants have the financial resources (i.e., financial ability) to
 9   remove these barriers without much expense or difficulty in order to make the
10
     Property more accessible to their mobility impaired customers (i.e., disabled
11
12   persons). The removal of these barriers is readily achievable. The United States
13   Department of Justice has determined that removal of these types of barriers is
14
     readily achievable.
15
16          28.    Defendants refuse to remove these barriers.
17          29.    On information and belief, Plaintiff alleges that Defendants’ failure to
18
     remove these barriers was/is intentional, because the barriers are logical and
19
20   obvious. During all relevant times, Defendants had authority, control, and
21
     dominion over these conditions. Thus, the absence of accessible facilities was/is
22
     not a mishap; it was/is the result of intentional actions or inaction.
23
24          30.    These barriers to access are described herein without prejudice to
25
     Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
26
     agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
27
28
                                           15
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 1   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 2
     have all barriers that relate to his or her disability removed, regardless of whether
 3
 4   he or she personally encountered them).

 5                  IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
 6
                      AMERICANS WITH DISABILITIES ACT OF 1990
 7
 8                                  (42 U.S.C. § 12101, et seq.)
 9                                   (Against All Defendants)
10
              31.    Plaintiff alleges and incorporates by reference each and every
11
12   allegation contained in all prior paragraphs of this complaint.
13            32.    Title III of the ADA prohibits discrimination against any person on the
14
     basis of disability in the full and equal enjoyment of the goods, services, facilities,
15
16   privileges, advantages, or accommodations of any place of public accommodation
17   by any person who owns, leases, or operates a place of public accommodation. 42
18
     U.S.C. § 12182(a).
19
20            33.    Defendants discriminated against Plaintiff by denying her “full and
21
     equal enjoyment” and use of the goods, services, facilities, privileges, and/or
22
     accommodations they offered during each visit, and each incident of a deterred
23
24   visit.
25
              34.    The acts and omissions of Defendants herein were/are in violation of
26
     Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
27
28
                                           16
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 1   et seq.
 2
               35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
 3
 4   modifications in policies, practices or procedures, when such modifications are

 5   necessary to afford goods, services, facilities, privileges, advantages or
 6
     accommodations to individuals with disabilities, unless the entity can demonstrate
 7
 8   that making such modifications would fundamentally alter the nature of such goods,
 9   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
10
     12182(b)(2)(A)(ii).
11
12             36.   The ADA requires removal of architectural barriers in existing
13   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
14
     (“discrimination includes … a failure to remove architectural barriers, and
15
16   communication barriers that are structural in nature, in existing facilities, … where
17   such removal is readily achievable”). The term “readily achievable” is defined as
18
     “easily accomplishable and able to be carried out without much difficulty or
19
20   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
21
     Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
22
     ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
23
24   Appendix A.
25
               37.   If removal of any barrier is not readily achievable, a failure to make
26
     goods, services, facilities, or accommodations available through alternative
27
28
                                           17
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 1   methods is also prohibited if the alternative methods are readily achievable. 42
 2
     U.S.C. § 12182(b)(2)(A)(v).
 3
 4         38.    Defendants can remove the architectural barriers at their facility

 5   without much difficulty or expense. Defendants violated the ADA by failing to
 6
     remove the barriers because removal was readily achievable. For instance, there
 7
 8   are companies which can repaint parking areas for as little as $350. Defendants can
 9   afford such costs, which are a fraction of what Defendants receive in (rental or
10
     business) profits in connection with such a large and expensive property.
11
12         39.    Alternatively, if it was not “readily achievable” for Defendants to
13   remove barriers at their facilities, Defendants violated the ADA by failing to make
14
     their services available through alternative methods which are readily achievable.
15
16         40.    On information and belief, Plaintiff alleges that the facility was altered
17   after January 26, 1992, mandating compliance with accessibility requirements
18
     under the ADA.
19
20         41.    The ADA requires that facilities altered in a manner that affects or
21
     could affect their usability must be made readily accessible to individuals with
22
     disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
23
24         42.    Defendants altered the facilities at the Property in a manner that
25
     violated the ADA, and/or failed to make the Property readily accessible to
26
     physically disabled persons to the maximum extent feasible.
27
28
                                         18
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 1         43.    The ADA also requires reasonable modifications in policies, practices,
 2
     or procedures, when such modifications are necessary to afford goods, services,
 3
 4   facilities, privileges, advantages, or accommodations to individuals with

 5   disabilities, unless the entity can demonstrate that making such modifications
 6
     would fundamentally alter the nature of such goods, services, facilities, privileges,
 7
 8   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 9         44.    Defendants violated the ADA by failing to make reasonable
10
     modifications in policies, practices, or procedures at the Property when these
11
12   modifications were necessary to afford (and would not fundamentally alter the
13   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
14
           45.    Plaintiff seeks a finding from this Court that Defendants violated the
15
16   ADA, so that she may pursue damages under California’s Unruh Civil Rights Act.
17         46.    Here Defendants’ failure to make sure that accessible facilities were
18
     available to, and ready to be used by, Plaintiff was/is a violation of law.
19
20         47.    Plaintiff would like to continue to frequent the Property. However, she
21
     is deterred from doing so because she has been discriminated against and is aware
22
     of accessibility barriers at the Property.
23
24         48.    Among the remedies sought, Plaintiff seeks an injunction order
25
     requiring compliance with federal and state disability access laws, and remediation
26
     of the existing access violations (i.e., removal of the existing barriers) at the
27
28
                                          19
                                       COMPLAINT
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 1   Property.
 2
                 V. SECOND CAUSE OF ACTION: VIOLATION OF THE
 3
 4                             UNRUH CIVIL RIGHTS ACT

 5                                 (Cal. Civ. Code §§ 51-53)
 6
                                   (Against All Defendants)
 7
 8         49.    Plaintiff repleads and incorporates by reference, as though fully set
 9   forth herein, the allegations contained in all prior paragraphs of this complaint.
10
           50.    California Civil Code § 51 states, in part: “All persons within the
11
12   jurisdictions of this state are entitled to the full and equal accommodations,
13   advantages, facilities, privileges, or services in all business establishments of every
14
     kind whatsoever.”
15
16         51.    California Civil Code § 51 also states, in part: “No business
17   establishment of any kind whatsoever shall discriminate against any person in this
18
     state because of the disability of the person.”
19
20         52.    California Civil Code § 51(f) specifically incorporates, by reference,
21
     an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
22
           53.    The UCRA also provides that a violation of the ADA, or California
23
24   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
25
     see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
26
     1994).
27
28
                                         20
                                      COMPLAINT
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 1           54.   Defendants’ above-mentioned acts and omissions have violated the
 2
     UCRA by denying Plaintiff her rights to full and equal use of the accommodations,
 3
 4   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s

 5   disability.
 6
             55.   Defendants’ above-mentioned acts and omissions have also violated
 7
 8   the UCRA by denying Plaintiff her rights to equal access pursuant to the ADA; and,
 9   thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
10
             56.   Because Defendants’ violation of the UCRA resulted in difficulty,
11
12   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
13   responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
14
     //
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16   //
17   //
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                                          21
                                       COMPLAINT
       Case 3:22-cv-02763-LB Document 1 Filed 05/10/22 Page 22 of 22



 1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
     She seeks actual damages, and statutory minimum damages of four thousand
 3
 4   dollars ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied

 5   full and equal access).
 6
                                    PRAYER FOR RELIEF
 7
 8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 9         1. For injunctive relief compelling Defendants to comply with the
10
                 Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
11
12               Plaintiff is not invoking section 55 of the California Civil Code and is not
13               seeking injunctive relief under the Disabled Persons Act.
14
           2. Damages under the Unruh Civil Rights Act, which provides for actual
15
16               damages and statutory minimum damages of $4,000 per each offense.
17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
18
                 to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
19
20                                            DEMAND
21
           Plaintiff demands a bench trial on all issues so triable.
22
23
     Dated: March 14, 2022              THE LAW OFFICE OF HAKIMI & SHAHRIARI
24
                                        By:    /s/ Peter Shahriari
25                                             PETER SHAHRIARI, ESQ.
26                                             Attorney for Plaintiff Dee Anne Evans

27
28
                                           22
                                        COMPLAINT
